                     Case 3:13-cr-00007-DHB-BKE Document 131 Filed 06/24/15 Page 1 of 1
AO2l?(10./11)   Order Resdding Molion iot SentenoeReductio! Pu6uant to 18U S C $ 1582(c)(2)                                      PaBe1 ofz (Page2 Not for PublrcD'sclosure)


                                                                                                                                          FILED
                                                             UNITED STATESDISTR]CTCOURT                                             U.S.DISIRICICOUR1
                                                                        for the                                                       .\UTTUSTA
                                                                                                                                              DIv
                                                                   SouthernDistrict of Georgia                                     ZglS
                                                                                                                                      Jtll2L .AH
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                                                                          DublinDivision
                       United Statesof America                                                                                   6LgRK
                                  v.
                                                                                        C a s eN o : 3 : 1 3 C R 0 0 0 0 7 - 4
                     AugustusMiller, JI., aka"A.J."
                                                                                        USMNo:1835i-021
Date of Original Judgment:                        IuIy'22.2014                          RalnhN. Jackson
DateoiPreviousAmendedJudgment:Not Applicable                                            Defendant's Attorney
(Lj:e Date oJ Last Anended Judgnent. {an,


                                         order Regardingl\'Iofionfor Sent.nceReductionPursuantto l8 (J S C S 3582(cX2)


        Upon motion of !the defendantIthe Directorof the Bureauof Prisonsflthe court under 18 U.S.C.
g 35S2(c)(2)for a reductionin the tem of imprisonmentimposedbasedon a guidelinesentencingrangethat has
iubsequentlybeen lolvered and made retroactiveby the United StatesSentencingCommissionpursuantto 28 U.S.C
                                                                               policy statementset fodh at USSG $ I B I l0 and
$ 994(u), and having consideredsuch motion, and taking into accountthe
the sentencingfactors set forth in I 8 u, S.c. $ 3 553(a),to the extent that they are applicable,

l T l S O R D E R I D l h a ll h e m o t i o ni s :
                                                                                                                inthetasttudsmenl
                                                             previously imposedsentenceof imprisonmentks reflected
 fl OENf eO. ! Cn tNfEO and the defendant's
                      issueclaf                months is reduced to


                                                  (CompletePcrrtsI und II of Page 2 when motion is granted)




Except as otherwiseprovided above,all provisions ofthe judgnent dated
 IT IS SO ORDERED.

Order Date:



                                                                                         Dudley H. Borven,Jr.
EffectiveDate: Novemberl, 2015                                                           United StatesDistrict Judge
                         (iJ dillerenl /ion   arder date)                                                Print"dno-" *dTiif,--
